                                                                   Case 2:22-cv-01756-RFB-DJA Document 10 Filed 12/02/22 Page 1 of 2



                                                               1   GINA M. MUSHMECHE, ESQ.
                                                                   Nevada Bar No. 10411
                                                               2   KRAVITZ SCHNITZER JOHNSON
                                                                   & WATSON, CHTD.
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                                                                   Attorneys for Defendant
                                                               6   Harris & Harris, LTD.
                                                               7

                                                               8                                UNITED STATED DISTRICT COURT
                                                               9                                    DISTRICT OF NEVADA
                                                              10    BONNIE TOTH,                                  Case No.: 2:22-cv-01756 -RFB-DJA
                                                              11                   Plaintiff,
KRAVITZ SCHNITZER JOHNSON




                                                              12    v.                                            STIPULATION AND ORDER
                            8985 S. Eastern Ave., Suite 200




                                                                                                                  EXTENDING DEADLINE FOR HARRIS
                              Las Vegas, Nevada 89123




                                                              13    HARRIS & HARRIS LTD,                          & HARRIS, LTD. TO RESPOND TO
    & WATSON, CHTD.




                                                                                                                  PLAINTIFF’S COMPLAINT
                                                              14                   Defendant.
                     Attorneys




                                                                                                                  [SECOND REQUEST FOR EXTENSION]
                                                              15

                                                              16

                                                              17          COMES NOW, Defendant, HARRIS & HARRIS, LTD. (“Defendant”), and Plaintiff,

                                                              18   BONNIE TOTH, by and through their respective counsel of record, stipulate and agree to extend

                                                              19   the deadline to January 6, 2023 for Defendant to answer or otherwise plead in response to

                                                              20   Plaintiff’s Complaint.

                                                              21          This is Defendant’s second request for an extension, which it requested from Plaintiff in

                                                              22   order to allow Defendant additional time to investigate the factual allegations of the Complaint

                                                              23   and to explore settlement possibilities. Plaintiff has no opposition to Defendant’s request for an

                                                              24   extension.

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                                                               1          This request is made in good faith and not for delay. No additional requests for
                                                               2   extensions are contemplated.
                                                               3          IT IS SO STIPULATED.
                                                               4          DATED this 30th day of November, 2022.
                                                               5    FREEDOM LAW FIRM                                KRAVITZ SCHNITZER JOHNSON
                                                                                                                    WATSON & ZEPPENFELD, CHTD.
                                                               6

                                                               7    /s/ Gerardo Avalos, Esq.                        /s/ Gina M. Mushmeche, Esq.
                                                                    GERARDO AVALOS, ESQ.                            GINA M. MUSHMECHE, ESQ.
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                                                                    Attorneys for Plaintiff,                        Attorneys for Defendant,
                                                              11    Bonnie Toth                                     Harris & Harris, LTD.
KRAVITZ SCHNITZER JOHNSON




                                                              12
                            8985 S. Eastern Ave., Suite 200
                              Las Vegas, Nevada 89123




                                                              13
    & WATSON, CHTD.




                                                              14                                               ORDER
                     Attorneys




                                                              15          IT IS SO ORDERED:
                                                              16

                                                              17                                       _____________________________________
                                                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                       DANIEL J. ALBREGTS
                                                              18                                       UNITED STATES MAGISTRATE JUDGE
                                                              19
                                                                                                       DATED: 12/2/2022
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